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Attorney for Chapter 7 Trustee



                               UNITED STATES BANKRUPTCY COURT
                                   FOR THE DISTRICT OF MONTANA
------------------------------------------------------------------------------------------------------------------
In re:                                                 )
                                                       )
DONNA B. MOHLER                                        )        Case No. 19-60025
                                                       )
SEAN MOHLER                                            )        NOTICE OF HEARING
                           Debtors.                    )        Date:             March 29, 2019
                                                       )        Time:             9:00 o’clock a.m.
                                                       )        Location:         Charles Pray Courtroom
                                                       )                          Missouri River Courthouse
                                                       )                          125 Central Ave. West
                                                       )                          Great Falls, Montana
------------------------------------------------------------------------------------------------------------------
                           OBJECTION TO MOTION TO MODIFY STAY
------------------------------------------------------------------------------------------------------------------
         Darcy M. Crum, Trustee, objects to the Motion to Modify Stay filed by Nationstar

Mortgage LLC, d/b/a Mr. Cooper seeking to lift the stay to proceed with foreclosure of the real

property which is legally described as follows: SEC/TWN/RNG/MER:SEC 36 TWN 21N RNG

03E WATERTOWER PARK ADDITION, S36, T21 N, R03 E, BLOCK 002, LOT 008.

         The Chapter 7 Trustee and the attorney for Nationstar Mortgage LLC, d/b/a Mr. Cooper

are working on a stipulation to allow the Trustee to proceed with a short sale of the real property
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and anticipate that the stipulation will be filed in the next 14 days. In addition, the Trustee has

just received an offer on the property which she and the creditor are in the process of reviewing.

       In view of the foregoing, the Trustee respectfully requests that the Court deny the Motion

to Modify Stay filed by Nationstar Mortgage LLC, d/b/a Mr. Cooper.


       DATED this 6th day of March, 2019.


                                                       /s/ Darcy M. Crum
                                                       Darcy M. Crum
                                                       Attorney for Trustee


                               CERTIFICATE OF SERVICE
      I, Darcy M. Crum, Trustee, hereby certify under penalty of perjury that on the 6th day of
March, 2019, I served a true and correct copy of the foregoing OBJECTION TO MOTION TO
MODIFY STAY by first class mail, postage prepaid, upon the following as shown below:

DONNA B MOHLER
6850 BLACK POWDER RD
MORGAN, UT 84050-9740

SEAN M MOHLER
316 TALON DR
GRAND JUNCTION, CO 81503-3831

ReMax of Great Falls
920 Central Avenue
Great Falls, MT 59401

BK Global Real Estate Services
1095 Broken Sound Parkway
Boca Raton, FL 33487

                                                       /s/ Darcy M. Crum
                                                       Darcy M. Crum
